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                 8
                 9                      UNITED STATES DISTRICT COURT
                10                     CENTRAL DISTRICT OF CALIFORNIA
                11                              EASTERN DIVISION
                12 DENNIS BATEMAN, CHRISTIAN                CASE NO. 2:25-cv-02200 SVW (AJRx)
                   BURES, MEGAN CARTER, JOHN
                13 FORGAS, LANCE GOBLE, DANIEL              The Honorable Stephen V. Wilson
                   GOLEZ, ELIZABETH GOSEIN-
                14 VASQUEZ, THOMAS HAMILTON,                DEFENDANT FABLETICS, INC.’S
                   KELLI LANGTON, JESSICA SIAS,             NOTICE OF MOTION AND
                15 and MAX REINISCH, individually and       MOTION TO COMPEL
                   on behalf of all others similarly        ARBITRATION
                16 situated;,
                                                            [Declarations of Matt Fojut and
                17             Plaintiffs,                  Bradley J. Mullins, and [Proposed]
                                                            Order Filed Concurrently Herewith]
                18       v.
                                                            Time:           June 23, 2025
                19 FABLETICS, INC.,                         Date:           1:30 p.m.
                                                            Location:       Courtroom 10A
                20             Defendant.
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                 1               NOTICE OF MOTION AND MOTION TO COMPEL
                 2 TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
                 3         PLEASE TAKE NOTICE that on June 23, 2025 at 1:30 p.m., or as soon as
                 4 the matter may be heard in United States District Court for the Central District of
                 5 California, located at the First Street Courthouse, 350 W. 1st Street, Courtroom
                 6 10A, 10th Floor, Los Angeles, California 90012, the Honorable Stephen V. Wilson
                 7 presiding, Defendant Fabletics, Inc. (“Fabletics”) will and hereby does move this
                 8 Court, pursuant to the Federal Arbitration Act, 9 U.S.C. § 1, et seq., and,
                 9 alternatively, the California Arbitration Act, California Code of Civil Procedure §
                10 1280, et seq., or the Florida Arbitration Code, ch. 682, Fla. Stat. (2003), as
                11 applicable, for an order compelling the individual arbitration of all of Plaintiffs’
                12 claims against Fabletics. Additionally, pursuant to Fed. R. Civ. P. 12(b)(1) and
                13 12(b)(6), because all of Plaintiffs’ individual claims are subject to arbitration, the
                14 Court should dismiss Plaintiffs’ class allegations, and stay the remainder of this
                15 lawsuit.
                16         This Motion is brought on the grounds that Plaintiffs’ claims against
                17 Fabletics are subject to a valid and enforceable arbitration agreement agreed to by
                18 Plaintiffs in connection with their decision to sign up for a Fabletics VIP account,
                19 which agreement requires Plaintiffs to individually arbitrate all of their claims. See
                20 9 U.S.C. §§ 3-4.
                21         Pursuant to C.D. Cal. Local Rule 7-3, this Motion is made following the
                22 conference between Fabletics’ counsel and Plaintiff’s counsel, which took place on
                23 May 8, 2025, wherein counsel thoroughly discussed the substance and potential
                24 resolution of the Motion by videoconference.
                25         This Motion is based on this Notice of Motion and Motion, the attached
                26 Memorandum of Points and Authorities, the concurrently filed Declarations of
                27 Matt Fojut and Bradley J. Mullins, any other matters of which the Court may take
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                1 judicial notice, other pleadings and documents on file in this action, and any oral
                2 argument of counsel.
                3
                4 DATED: May 19, 2025                   SETH E. PIERCE
                                                        BRADLEY J. MULLINS
                5                                       REBECCA BENYAMIN
                                                        MITCHELL SILBERBERG & KNUPP LLP
                6
                7
                                                        By: /s/ Bradley J. Mullins
                8                                             Bradley J. Mullins
                                                              Attorneys for Defendant
                9                                             Fabletics, Inc.
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                 1               MEMORANDUM OF POINTS AND AUTHORITIES
                 2 I.      INTRODUCTION
                 3         Plaintiffs, purporting to act on behalf of a class of similarly situated
                 4 consumers, challenge certain features of Defendant’s VIP Membership Program –
                 5 but they do so only by ignoring the clear disclosures provided to them when they
                 6 signed up, applicable law, and their voluntary and knowing election to join the VIP
                 7 Membership Program. To be clear, Defendant Fabletics, Inc. (“Fabletics”) fully
                 8 disputes the merits of Plaintiffs’ claims, regardless of legal theory. While Fabletics
                 9 is confident that it will ultimately prevail, the determination of Plaintiffs’ claims
                10 must be made in arbitration, not in court – the subject of this Motion.
                11         Fabletics, a retailer of active wear, offers a VIP Membership Program to
                12 consumers who purchase a product and wish to receive certain exclusive benefits,
                13 such as member-exclusive discounts, free shipping on most orders, and a monthly
                14 membership credit that can be redeemed for Fabletics products. There is no
                15 obligation to join the VIP Membership Program. But all consumers that elect
                16 to join the VIP Membership Program and accept its benefits – including Plaintiffs
                17 – must affirmatively accept the Fabletics Terms and Conditions (the “Terms”) as
                18 part of the signup process.
                19         The Fabletics Terms, clearly and conspicuously, inform consumers that the
                20 Terms include a mandatory arbitration provision (the “Arbitration Agreement”),
                21 which requires individual arbitration of all disputes between Fabletics and the
                22 consumer relating to, inter alia, the VIP Membership Program.
                23         The Terms also delegate disputes over the validity, enforcement, and scope
                24 of the arbitration provision to the arbitrator. This delegation provision requires that
                25 this case be compelled to arbitration for the arbitrator to determine all issues,
                26 including whether the Arbitration Agreement is valid and enforceable and whether
                27 the Arbitration Agreement encompasses Plaintiffs’ claims.
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                 1         Thus, because of the delegation provision, but even without it, Plaintiffs are
                 2 required to arbitrate this dispute under the Federal Arbitration Act (“FAA”) or,
                 3 alternatively, under the California Arbitration Act (“CAA”) or Florida Arbitration
                 4 Code, as applicable, depending on the state of residence of each Plaintiff.
                 5         The parties agreed to arbitrate. And in keeping with the strong public policy
                 6 favoring arbitration, Plaintiffs’ agreement to arbitrate all disputes relating to the
                 7 VIP Membership Program should be enforced. Accordingly, Fabletics respectfully
                 8 requests that the Court enter an order compelling Plaintiffs’ claims to individual
                 9 arbitration. Additionally, because all of Plaintiffs’ individual claims are subject to
                10 arbitration, the Court should dismiss Plaintiffs’ class allegations, and stay the
                11 remainder of this lawsuit.
                12 II.     FACTUAL BACKGROUND
                13         A.     Fabletics
                14         Fabletics is an active lifestyle brand that primarily sells men’s and women’s
                15 active wear, including sportswear, footwear, and accessories. Declaration of Matt
                16 Fojut (“Fojut Decl.”) ¶ 4. Fabletics has an e-commerce store located at
                17 www.fabletics.com, and also operates more than 100 retail stores in 35 states
                18 across the United States. Id.
                19         Fabletics offers a VIP Membership Program. Id. ¶ 5. Consumers do not
                20 need to join the VIP Membership Program to purchase products from Fabletics –
                21 either online or at its retail locations. Id. However, joining the VIP Membership
                22 Program entitles members to multiple benefits, including: (i) 20-50% discounts off
                23 of its retail prices; (ii) a monthly membership credit that can be exchanged for one
                24 item, a two-piece outfit, or a multi-piece bundle (a “Promotional Membership
                25 Credit”); (iii) free shipping; and (iv) early access to exclusive products. Id. There
                26 is a fee associated with the VIP Membership Program, but VIP Members can skip
                27 a month (or months) if they do not want to pay the fee. Id. For example,
   Mitchell     28 Fabletics’ records reflect that one of the named Plaintiffs, Kelli Langton, utilized
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                 1 this skip a month feature at least 27 times while a VIP Member. Id. VIP Members
                 2 can skip a month or cancel on-line, and Fabletics also provides 24/7 customer
                 3 service (by phone or chat) to facilitate such requests. Id. Members who skip the
                 4 month do not get all VIP Membership benefits that month, but also are not required
                 5 to pay the monthly membership fee. Id. Many members use this function on a
                 6 regular basis. Id. In addition, unused membership credits expire after twelve
                 7 months, but members are notified before expiration, and, historically, Fabletics has
                 8 reactivated expired credits upon request. Id.
                 9         B.    Fabletics’ Terms
                10         All consumers who purchase any product (either online or at a retail
                11 location) and want the VIP Membership Program discount (and other benefits)
                12 must affirmatively accept the Fabletics Terms in order to complete their purchase.
                13 Fojut Decl. ¶ 7. On the “Review Order” page of the checkout flow, directly below
                14 the details of the VIP Membership Program and next to a check box, is the
                15 statement: “I accept the terms of the Fabletics VIP Membership Program.” Id. &
                16 Ex. A. The words “Fabletics VIP Membership Program” appears in blue and are
                17 hyperlinked to the Fabletics Terms then in effect at all relevant times. Id. ¶ 8. If
                18 and when a customer clicks on any part of the blue words, the Terms are displayed
                19 on a new page and can be readily reviewed via scrolling or printing out the Terms.
                20 Id.
                21         The Arbitration Agreement provides for the arbitration of “all Disputes”
                22 between Fabletics and the consumer, and contains a delegation clause:
                23               Except to the limited extent noted below, all Disputes
                24               shall be resolved by final, binding, and bilateral
                25               arbitration between you and Fabletics. … This arbitration
                26               agreement is subject to the Federal Arbitration Act and is
                27               enforceable pursuant to its terms on a self-executing
   Mitchell     28               basis. The parties agree that these Terms of Service
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                 1               evidence transactions involving interstate commerce. If
                 2               for whatever reason the rules and procedures of the FAA
                 3               cannot apply, the state law governing arbitration
                 4               agreements in the state in which you reside shall apply.
                 5               The arbitrator (and not a court) shall determine any and
                 6               all challenges to the arbitrability of a claim, including
                 7               disputes about the scope, applicability, enforceability,
                 8               revocability, or validity of this arbitration agreement. …
                 9               The parties agree that all related Disputes that can be
                10               arbitrated shall be arbitrated first, and any non-arbitrable
                11               Disputes shall be stayed until the completion of the
                12               arbitration.
                13 Id. ¶ 15, Ex. G, pp.11-12. The term “Disputes” is defined to mean “any
                14 controversy, claim or dispute arising out of or relating in any way to your use of
                15 the Fabletics Services, your membership in or purchases through the Fabletics
                16 Services, Fabletics VIP Membership Program and/or your Account, or products
                17 purchased through the Fabletics Services.” Id., p. 11. The Fabletics Terms also
                18 has an opt-out provision, which states:
                19               You may elect to opt-out (exclude yourself) from the
                20               final, binding arbitration procedure and the class action
                21               waiver specified in these Terms of Service by doing the
                22               following: within 15 days of setting up your Account,
                23               you must send a letter to Fabletics, LLC., c/o Legal
                24               Department, 800 Apollo Street, El Segundo, California
                25               90245 that specifies: (1) your name, (2) your account
                26               number or account member name, (3) your mailing
                27               address, and (4) your request to be excluded from the
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                 1                final, binding arbitration procedure and class action
                 2                waiver specified in these Terms of Service.
                 3 Id., p. 13. None of the named Plaintiffs opted out of the arbitration provision. Id. ¶
                 4 20. The material terms of the Arbitration Agreement have remained unchanged
                 5 since at latest 2019, which is the earliest time any of Plaintiffs alleges he or she
                 6 joined the VIP Membership Program. 1 Id. ¶¶ 6, 9.
                 7         C.     Consumers Must Affirmatively Accept and Agree to Fabletics’
                 8                Terms and Conditions In Order to Become a VIP Member
                 9         As stated above, while a consumer need not become a VIP member to
                10 purchase products from Fabletics, if they want the discount and other benefits of
                11 the VIP Membership Program, they are required to accept the Terms then in effect
                12 by clicking a check box. Id. ¶ 17. If the customer elects VIP Membership but fails
                13 to accept the terms of the VIP Membership Program by checking that box, they
                14 would get an error page, instructing the consumer that they must accept the
                15 Fabletics Terms in order to proceed. Id. The consumer could then elect to accept
                16 the Terms and proceed as a member of the VIP Membership Program, or complete
                17 the transaction without joining VIP Membership Program (and without the benefits
                18 provided by membership).
                19         Before joining the VIP Membership Program and agreeing to its Terms,
                20 Plaintiffs were free to scroll through the Terms at their leisure, and to seek the
                21 input of an attorney or trusted advisor if they so chose. Id. ¶ 18. They were
                22 equally free to make a purchase without joining the VIP Membership Program and
                23 enjoying its benefits. Id. If they elected to proceed, however, Plaintiffs
                24 affirmatively had to manifest their consent to the Terms by checking the box next
                25 to “I accept.” Id. This process has been in effect since, at latest, 2015. Id. ¶ 7.
                26
                   1
                     The Arbitration Agreement has been the same since 2021. The 2019 and 2020
                27 versions  of the Arbitration Agreement did differ from the later versions in some
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                   respects,
                28 outcome ofbut, as explained herein, those differences do not meaningfully impact the
 Silberberg &                   this motion. Fojut Decl., ¶¶ 10-11, Exs. B-C.
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                 1 Because Plaintiffs each allege that they created VIP accounts between 2019, at the
                 2 earliest, and 2024, at the latest, and each bases their claim on features of the VIP
                 3 Membership program, each necessarily accepted the Fabletics Terms in effect at
                 4 the time of account creation. Id. ¶ 19. All of the applicable Terms during that time
                 5 period contain a mandatory arbitration provision. See id. ¶¶ 9-16, Exs. B-G.
                 6         D.    Plaintiffs’ Allegations
                 7         Plaintiffs allege that (1) the Promotional Membership Credits constitute gift
                 8 certificates that, under California’s Gift Card Law, cannot legally expire; (2)
                 9 Fabletics does not adequately disclose that the VIP Membership Program renews
                10 automatically, under California’s Automatic Renewal Law or general principles of
                11 fairness; and (3) Fabletics engaged in unfair or deceptive practices by claiming that
                12 Promotional Membership Credits are worth “up to $100,” when most Fabletics
                13 products cost less than that amount. See generally Compl. Based on these
                14 allegations, Plaintiffs assert claims under California’s Gift Card Law, Cal. Civ.
                15 Code § 1749.45 et seq.; California’s Unfair Competition and False Advertising
                16 Laws, Cal. Bus. & Prof. Code §§ 17200 and 17500 et seq.; and Florida’s Deceptive
                17 and Unfair Trade Practices Act, Fla. Stat. § 501.201 et seq.
                18 III.    ARGUMENT
                19         A.    Federal Law Mandates Enforcement of the Arbitration
                20               Agreement
                21         Plaintiffs’ claims should be compelled to arbitration under the FAA. The
                22 FAA reflects a “liberal federal policy favoring arbitration.” AT&T Mobility LLC v.
                23 Concepcion, 563 U.S. 333, 346 (2011). The FAA applies to any “written . . .
                24 contract evidencing a transaction involving commerce to settle by arbitration a
                25 controversy thereafter arising out of such contract or transaction.” 9 U.S.C. § 2.
                26 The FAA requires courts to “move the parties to an arbitrable dispute out of court
                27 and into arbitration as quickly and easily as possible,” in order to effectuate the
   Mitchell     28 parties’ desire to use an alternative dispute resolution process and avoid the
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                 1 expense and inefficiencies of litigation. Preston v. Ferrer, 552 U.S. 346, 357
                 2 (2008). Here, the FAA governs the Arbitration Agreement for two independent
                 3 reasons.
                 4         First, the Arbitration Agreement expressly states that it is governed by the
                 5 FAA. Fojut Decl. ¶ 15, Ex. G, p. 12 (“[t]his arbitration agreement is subject to the
                 6 Federal Arbitration Act …”); id. ¶ 11, Ex. C, p. 10 (same). This is itself sufficient
                 7 to bring this dispute within the contours of the FAA. See Volt Info. Scis., Inc. v.
                 8 Bd. of Trustees of Leland Stanford Junior Univ., 489 U.S. 468, 479 (1989) (“Just
                 9 as [parties] may limit by contract the issues which they will arbitrate … , so too
                10 may they specify by contract the rules under which that arbitration will be
                11 conducted.” (citation omitted)). Courts apply the FAA—even absent evidence of
                12 interstate commerce—if the parties so agree. See Ruiz v. CarMax Auto
                13 Superstores, Inc., 2024 WL 1136332, at *2 (C.D. Cal. Jan. 18, 2024) (“the Court
                14 finds that the FAA applies to the Agreements because it is expressly provided for”)
                15 (collecting cases).
                16         Second, the Arbitration Agreement is in writing, and the national scope of
                17 Fabletics’ business operations satisfies the “involving commerce” factor. See Fojut
                18 Decl. ¶¶ 21-22, Ex. I. Courts have “interpreted the term ‘involving commerce’ in
                19 the FAA” broadly, “as the functional equivalent of the more familiar term
                20 ‘affecting [interstate] commerce’—words of art that ordinarily signal the broadest
                21 permissible exercise of Congress’ Commerce Clause power.” Citizens Bank v.
                22 Alafabco, Inc., 539 U.S. 52, 56 (2003) (citation omitted). The FAA “commerce”
                23 threshold is low. So long as a party is “engaged in business throughout [more than
                24 one state]” or is generally engaged in a business with “broad impact … on the
                25 national economy,” arbitration agreements by that party are governed by the FAA.
                26 Id. at 57-58. Under this test, the FAA applies even if the particular contract or
                27 transaction at issue does not affect interstate commerce, so long as the contracting
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                 1 business implicates such commerce. See id. at 56-58 (FAA applies to in-state-
                 2 contract “executed in Alabama by Alabama residents”).
                 3         Fabletics unquestionably meets this low bar. Fabletics operates on a
                 4 nationwide scale given its more than 100 retail stores across 35 states and its e-
                 5 commerce website. Fojut Decl. ¶¶ 21-22. Fabletics’ website is Internet-based such
                 6 that users not only sign up for a VIP account online, they also shop online. Id. ¶
                 7 22. Transactions conducted via the Fabletics website involve instrumentalities of
                 8 interstate commerce. See S.S. by & through Stern v. Peloton Interactive, Inc., 566
                 9 F. Supp. 3d 1019, 1042 (S.D. Cal. 2021) (“To the extent the contract pertains to
                10 use of Peloton’s Services (e.g., its app, website, and on-demand fitness classes),
                11 because those services require use of the Internet, the Agreement would involve
                12 interstate commerce.”). Thus, the FAA applies. 2
                13         B.     The FAA Compels Enforcement Of The Arbitration Agreement
                14         Under the FAA, defendants have a right to compel arbitration of
                15 controversies within the scope of the agreement. See 9 U.S.C. §§ 2, 4. The FAA
                16 provides that arbitration agreements “shall be valid, irrevocable, and enforceable,
                17 save upon such grounds as exist at law or in equity for the revocation of any
                18 contract.” 9 U.S.C. § 2 (emphasis added); see also Am. Exp. Co. v. Italian Colors
                19 Rest., 570 U.S. 228, 233 (2013) (“[C]ourts must ‘rigorously enforce’ arbitration
                20 agreements according to their terms.”); Chiron Corp. v. Ortho Diagnostic Sys.,
                21 Inc., 207 F.3d 1126, 1130 (9th Cir. 2000) (same). Indeed, “the [FAA] leaves no
                22 place for the exercise of discretion by a [trial] court, but instead mandates that
                23 [trial] courts shall direct the parties to proceed to arbitration on issues as to which
                24
                   2
                     Of course, even if state law governed, the result would be the same under the
                25 CAA    or the Florida Arbitration Code. See Cable Connection, Inc. v. DIRECTV,
                26 statutoryCal.
                   Inc., 44      4th 1334, 1343 (2008) (“In most important respects, the California
                              scheme on enforcement of private arbitration agreements is similar to the
                   [FAA] ….”); John B. Goodman Ltd. P’ship v. THF Const., Inc., 321 F.3d 1094,
                27 1097  (11th Cir. 2003) (“The Florida Arbitration Code is substantially similar to the
   Mitchell     28 FAA   and  the Uniform Arbitration Act.”).
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                 1 an arbitration agreement” applies. Dean Whitter Reynolds, Inc. v. Byrd, 470 U.S.
                 2 213, 218 (1985) (emphasis in original). 3 “[A]ny doubts concerning the scope of
                 3 arbitrable issues should be resolved in favor of arbitration.” Moses H. Cone Mem’l
                 4 Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983).
                 5         A court’s involvement in assessing an arbitration provision is generally
                 6 limited to two questions: “(1) whether a valid agreement to arbitrate exists and, if it
                 7 does; (2) whether the agreement encompasses the dispute at issue.” Chiron Corp.,
                 8 207 F.3d at 1131. Parties, however, “can agree to arbitrate ‘gateway’ questions of
                 9 ‘arbitrability,’ such as whether the parties have agreed to arbitrate or whether their
                10 agreement covers a particular controversy.” Rent-A-Ctr., W., Inc. v. Jackson, 561
                11 U.S. 63, 68-69 (2010). Thus, “[w]hen the parties have ‘clearly and unmistakably’
                12 delegated questions regarding arbitrability to the arbitrator, … the court ‘need not
                13 conduct further inquiries beyond the existence of the arbitration agreement.’”
                14 Juarez v. T-Mobile USA Inc., 2024 WL 5424366, at *2 (C.D. Cal. Aug. 23, 2024)
                15 (citations omitted).
                16               1.       Plaintiffs Each Agreed To The Terms
                17         “[C]ourts routinely find clickwrap agreements enforceable.” 4 Scribner v.
                18 Trans Union LLC, 738 F. Supp. 3d 1301, 1307-08 (E.D. Cal. 2024) (enforcing
                19
                   3
                     The same is true under the CAA and the Florida Arbitration Code. See EFund
                20 Capital  Partners v. Pless, 150 Cal. App. 4th 1311, 1320 (2007) (“California has a
                21 Exhaust, LLC,policy
                   strong  public        in favor of arbitration.”); Hagstrom v. Co.Fe.Me. USA Marine
                                   322 So. 3d 145, 147 (Fla. Dist. Ct. App. 2021) (“Recognizing
                22 ‘strong  public policy’ considerations, Florida law has historically favored
                   agreements to resolve disputes by arbitration.”).
                23 4 The same is true under Florida and California law. See Valiente v. StockX, Inc.,
                   645 F. Supp. 3d 1331, 1338-39 (S.D. Fla. 2022) (“‘In Florida and the federal
                24 circuits … click-wrap agreements are valid and enforceable contracts.’”) (citations
                   omitted) (enforcing arbitration provision in terms of service); Massage Envy
                25 Franchising, LLC v. Doe, 339 So. 3d 481, 484 (Fla. Dist. Ct. App. 2022)
                   (enforcing “clickwrap agreement” with arbitration provision where customer “was
                26 required to click a box stating, ‘I agree and assent to the Terms of Use Agreement,’
                   which attached the TOU via hyperlink.”); Weeks v. Interactive Life Forms, LLC,
                27 100 Cal. App. 5th 1077, 1084-85 (2024) (“Courts have generally enforced
                   agreements to arbitrate formed via ‘clickwrap,’ where an internet user accepts a
   Mitchell     28 website’s terms of use by clicking an ‘I agree’ or ‘I accept’ button, with a link to
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                 1 arbitration provision in terms of use). A “clickwrap” agreement is an agreement
                 2 “in which website users are required to click on an ‘I agree’ box after being
                 3 presented with a list of the terms and conditions of use.” 5 Lee v. Ticketmaster
                 4 L.L.C., 817 F. App’x 393, 394 (9th Cir. 2020).
                 5         Here, Fabletics formed an agreement to arbitrate with each named Plaintiff
                 6 when each agreed to and accepted the Fabletics Terms. Specifically, each named
                 7 Plaintiff affirmatively accepted the Fabletics Terms, including its Arbitration
                 8 Agreement, when they clicked the box stating “I accept the terms of the Fabletics
                 9 VIP Membership Program.” The terms of the Fabletics VIP Membership Program
                10 are hyperlinked in the very same line as the “I accept” button. Fojut Decl. ¶¶ 7-8.
                11 In addition, the hyperlink was emphasized in blue (id. ¶ 8), thus “indicating to
                12 users that [it was] clickable.” Peter v. Doordash, Inc., 445 F. Supp. 3d 580, 587
                13 (N.D. Cal. 2020).
                14         Accordingly, Fabletics and Plaintiffs formed an enforceable agreement to
                15 arbitrate all claims in this lawsuit. See Mejia v. TruthFinder, LLC, 2022 WL
                16 5236828, at *4 (S.D. Cal. Oct. 5, 2022) (sworn statements that customer could not
                17 have completed purchase without accepting terms “constitute sufficient evidence to
                18 demonstrate that Plaintiff agreed to the Terms”); Falls v. Soulbound Studios, LLC,
                19 2021 WL 4295137, at *2 (C.D. Cal. July 6, 2021) (Wilson, J.) (“Courts enforce
                20 internet contracts where the website contains ‘an explicit textual notice that
                21 continued use will act as a manifestation of the user's intent to be bound’”;
                22 enforcing arbitration agreement where evidence showed that all consumers were
                23
                   the agreement readily available.”); Sellers v. JustAnswer LLC, 73 Cal. App. 5th
                24 444, 470 (2021) (“clickwrap agreements … are generally considered enforceable”).
                   5
                     Where, like here, the terms are hyperlinked, courts sometimes refer to the
                25 agreements   as “modified” clickwrap agreements, “hybrid design,” or “sign-in
                   wrap”  agreements.   See Moyer v. Chegg, Inc., 2023 WL 4771181, at *4 & n.1
                26 (N.D. Cal. July 25, 2023).    Such agreements are also routinely enforced where, as
                   here, “the existence of  the terms was reasonably communicated to the user.” Id. at
                27 *4 (collecting cases); see also Zamber   v. Am. Airlines, Inc., 2020 WL 1445479, at
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                   *3  (S.D. Fla. Feb. 11, 2020)  (“so-called
                28 clickwrap-browsewrap agreements are both   ‘clickwrap’ agreements or hybrid
 Silberberg &                                                      routine and enforceable”).
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                 1 presented with terms “via hyperlink at the time of the checkout”) (citation
                 2 omitted); Swift v. Zynga Game Network, Inc., 805 F. Supp. 2d 904, 910, 912 (N.D.
                 3 Cal. 2011) (enforceable agreement to arbitrate formed when consumer clicked “I
                 4 Accept” button, indicating acceptance of hyperlinked terms of service agreement,
                 5 in order to log on to play an online game).
                 6         As stated above, there is no doubt that each of the Plaintiffs agreed to the
                 7 written Arbitration Agreement in the Fabletics Terms (Fojut Decl. ¶¶ 17-19),
                 8 which is a valid and enforceable contract. In addition to Plaintiffs’ affirmative
                 9 assent, Fabletics provided Plaintiffs ample opportunity to review the Terms, and
                10 for 15 days after accepting such terms, to opt out of the arbitration provision. Id.,
                11 ¶¶ 18, 20; see id., Ex. C, p. 11; id., Ex. G, p. 13. Plaintiffs did not opt out of the
                12 Arbitration Agreement (id. ¶ 20), further evidencing their consent to be bound by
                13 its terms.
                14                2.     The Terms Contain a Delegation Provision That Delegates
                15                       Disputes Over the Arbitrability of Plaintiffs’ Claims to the
                16                       Arbitrator.
                17         Where, as here, an arbitration agreement delegates questions of arbitrability
                18 to the arbitrator, “questions regarding the enforceability and validity of the
                19 Agreement as a whole fall to the arbitrator, not the Court.” 6 Ensambles Hyson,
                20 S.A. de C.V. v. Sanchez, 718 F. Supp. 3d 1258, 1269 (S.D. Cal. 2024) (emphasis in
                21 original); see also Ahern v. Fiserv, Inc., 2023 WL 8945697, at *4 (C.D. Cal. Dec.
                22 8, 2023) (“As an initial matter, the Court must decide whether the Agreement
                23 delegates arbitrability to the arbitrator under the delegation clause. … If the
                24
                25 ofCalifornia and Florida law also recognize the parties’ ability to delegate questions
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                      arbitrability to the arbitrator. See Tiri v. Lucky Chances, Inc., 226 Cal. App. 4th
                26 231,  240 (2014) (California courts “have specifically looked to the FAA when
                   considering delegation clauses … and have long held that the rules governing these
                   clauses are the same under both state and federal law” (citation omitted)); Reunion
                27 W.  Dev. Partners, LLLP v. Guimaraes, 221 So. 3d 1278, 1280 (Fla. Dist. Ct. App.
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                   2017)  (“While arbitrability is generally an issue for trial courts to decide, courts
                28 must delegate
 Silberberg &                      the authority to the arbitrator if the parties’ contract so provides.”)
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                 1 delegation clause is enforceable, all other questions regarding the validity of the
                 2 arbitration agreement must go to the arbitrator to decide in the first instance.”).
                 3 There are two requirements for a delegation clause to be effective: (1) “the
                 4 language of the clause must be clear and unmistakable”; and (2) “the delegation
                 5 must not be revocable under state contract defenses such as fraud, duress, or
                 6 unconscionability.” Manfredi v. Vivint Solar Developer LLC, 2021 WL 8441831,
                 7 at *2 (C.D. Cal. Sept. 24, 2021). Both requirements clearly are met here.
                 8                      a.     The Delegation Provision Is Clear and Unmistakable
                 9         The Arbitration Agreement includes a delegation clause, which states: “The
                10 arbitrator (and not a court) shall determine any and all challenges to the
                11 arbitrability of a claim, including disputes about the scope, applicability,
                12 enforceability, revocability, or validity of this arbitration agreement.” 7 Fojut Decl.,
                13 Ex. G, p. 12. This language unambiguously delegates to the arbitrator questions of
                14 arbitrability and constitutes “clear and unmistakable” evidence that the parties
                15 intended to arbitrate these gateway questions of arbitrability. See, e.g., Bielski v.
                16 Coinbase, Inc., 87 F.4th 1003, 1008 (9th Cir. 2023) (enforcing delegation clause
                17 providing “[t]his Arbitration Agreement includes, without limitation, disputes
                18 arising out of or related to the interpretation or application of the Arbitration
                19 Agreement, including the enforceability, revocability, scope, or validity of the
                20 Arbitration Agreement or any portion of the Arbitration Agreement”); Momot v.
                21 Mastro, 652 F.3d 982, 988 (9th Cir. 2011) (language delegating to the arbitrators
                22 the authority to determine “the validity or application of any of the provisions of”
                23 the arbitration clause constituted “clear and unmistakable evidence” of an
                24 agreement to arbitrate the question of arbitrability); Rendon v. T-Mobile USA, Inc.,
                25 747 F. Supp. 3d 1314, 1320 (C.D. Cal. 2024), reconsideration denied, No. 2024
                26
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                     The 2019 and 2020 version of the Arbitration Agreement contained a functionally
                27 identical delegation provision: “The arbitrator shall determine any and all
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                   challenges
                28 11.         to the arbitrability of a claim.” Fojut Decl., Ex. B, p. 10; id., Ex. C, p.
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              1 WL 5256491 (C.D. Cal. Nov. 4, 2024) (same where language in terms and
              2 conditions delegated to the arbitrator the authority to determine “any issues
              3 concerning the existence, validity, or scope of either this Agreement or the
              4 arbitration clause, including whether any claim is subject to arbitration”).
              5         While the parties’ express delegation is manifest (and the contractual
              6 language even clearer than the cited cases), “[t]he incorporation of professional
              7 arbitration rules that delegate the questions of arbitrability can [itself] constitute
              8 ‘clear and unmistakable’ evidence that the parties intended to delegate that
              9 question.” Galen v. Redfin Corp., 2015 WL 7734137, at *6 (N.D. Cal. Dec. 1,
             10 2015). Here, the Arbitration Agreement provides that the arbitration “shall be
             11 subject to ADR Services’ most current version of its Arbitration Rules, available at
             12 https://www.adrservices.com/services/arbitration-rules or by calling ADR Services
             13 at 310-201-0010.” Fojut Decl., Ex. G, p. 11. ADR Services’ Arbitration Rules
             14 expressly provide that the arbitrator “shall have the power to rule on his or her own
             15 jurisdiction, including any objections with respect to the existence, scope, or
             16 validity of the arbitration agreement.” Declaration of Bradley J. Mullins (“Mullins
             17 Decl.”), Ex. A, p. 5; id., Ex. B, p. 6. 8 This is further evidence that the parties
             18 intended to contractually delegate issues of arbitrability to the arbitrator. See, e.g.,
             19 Cordas v. Uber Techs., Inc., 228 F. Supp. 3d 985, 991-92 (N.D. Cal. 2017) (Uber’s
             20 arbitration agreement in its terms and conditions, which incorporated the AAA
             21 Commercial Arbitration Rules, constituted “clear and unmistakable evidence of the
             22 parties’ intent to delegate questions of arbitrability to an arbitrator” where the
             23 AAA rule provided that “The arbitrator shall have the power to rule on his or her
             24 own jurisdiction, including any objections with respect to the existence, scope, or
             25
                 8
                   In 2019 and 2020, the Arbitration Agreement provided that arbitration should be
              26 conducted  pursuant to American Arbitration Association rules, which also
                 expressly delegated  authority to determine arbitrability to the arbitrator. Mullins
              27 Decl., ¶¶ 4-5, Exs. C-D; see also Brennan v. Opus Bank, 796 F.3d 1125, 1130 (9th
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                 Cir. 2015) (“incorporation of the AAA rules constitutes clear and unmistakable
              28 evidence that contracting parties
 Silberberg &                                      agreed to arbitrate arbitrability”).
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                 1 validity of the arbitration agreement or to the arbitrability of any claim or
                 2 counterclaim”).
                 3               3.     The Delegation Provision Is Not Fraudulent, Was Not
                 4                      Obtained Under Duress, and Is Not Unconscionable
                 5         “[T]he party opposing arbitration bears the burden of proving any defense,
                 6 such as unconscionability.” Poublon v. C.H. Robinson Co., 846 F.3d 1251, 1260
                 7 (9th Cir. 2017). Here, the analysis focuses on the delegation agreement itself, not
                 8 the overall agreement. Falls, 2021 WL 4295137, at *3 (“When an arbitration
                 9 agreement delegates the question of arbitrability to the arbitrator, as here, … a
                10 party opposing arbitration may only challenge the delegation provision itself as
                11 unconscionable.”). There is no evidence that suggests that the delegation provision
                12 was fraudulent, obtained under duress, or is unconscionable. “[B]oth procedural
                13 and substantive unconscionability must be present for an agreement to be
                14 unenforceable.” Mohamed v. Uber Techs., Inc., 848 F.3d 1201, 1211 (9th Cir.
                15 2016) (internal quotations omitted). Procedural unconscionability focuses on
                16 “oppression or surprise due to unequal bargaining power” while substantive
                17 unconscionability focuses on “overly harsh” or “one-sided” contracts that “shock
                18 the conscience.” Poublon, 846 F.3d at 1260-61.
                19         Initially, the delegation provision is not procedurally unconscionable.
                20 Before joining the VIP Membership Program and agreeing to its Terms, Plaintiffs
                21 were free to scroll through the Terms at their leisure, and to seek the input of an
                22 attorney or trusted advisor if they so chose. Fojut Decl. ¶ 18. Plaintiffs were
                23 equally free not to continue with joining the VIP Membership Program, which was
                24 not required in order to purchase a product. Id. Each of the named Plaintiffs,
                25 however, chose to proceed and manifested their assent to the Terms by checking
                26 the “I accept” box. Id. ¶¶ 18-19. Further, Plaintiffs were afforded ample
                27 opportunity to opt out of the Arbitration Agreement, including its delegation
   Mitchell     28 provision, within 15 days of accepting the Terms, but chose not to do so. Id. ¶ 20;
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                 1 see id., Ex. C, p. 11; id., Ex. G, p. 13; see also Paxton v. Macy’s W. Stores, Inc.,
                 2 2018 WL 4297763, at *7 (E.D. Cal. Sept. 7, 2018) (“the Ninth Circuit, applying
                 3 California law, has found that arbitration clauses providing an opt-out period of
                 4 sufficient duration are not procedurally unconscionable”); Vega v. Tempoe, LLC,
                 5 2021 WL 3615913, at *3 (C.D. Cal. Apr. 16, 2021) (finding that arbitration
                 6 agreement was not procedurally unconscionable where the plaintiff “was given 15
                 7 days to investigate the [agreement] which was ample opportunity to decide
                 8 whether to opt out of the Arbitration Provision.”). 9
                 9         Given the lack of procedural unconscionability, the Court need not reach the
                10 question of substantive unconscionability. Prizler v. Charter Commc’ns, LLC,
                11 2019 WL 2269974, at *4 (S.D. Cal. May 28, 2019). Regardless, Plaintiffs cannot
                12 point to anything in the delegation provision that would “shock the conscience”
                13 such that it would be substantively unconscionable. See, e.g., Alkutkar v. Bumble
                14 Inc., 2022 WL 4112360, at *10 (N.D. Cal. Sept. 8, 2022) (where agreement “does
                15 not impose unfair terms” and “does not shock the conscience[,]” “[t]he delegation
                16 provision is not substantively unconscionable.”).
                17         Accordingly, the Court should compel this case to arbitration to allow the
                18 arbitrator to decide all gateway questions of arbitrability, including whether the
                19 Arbitration Agreement is valid and enforceable and whether Plaintiffs’ claims fall
                20 within the Arbitration Agreement’s scope. This should be the end of the inquiry.
                21         C.     The Two Questions of Arbitrability Have Been Satisfied
                22         Even if the Court were to find that it, and not an arbitrator, should determine
                23 the question of arbitrability despite the delegation clause (it should not), the Court
                24 should nonetheless compel arbitration. As previously noted, the Court need only
                25 consider two questions: “(1) whether a valid agreement to arbitrate exists and, if it
                26   9
                     The same is true under Florida law. See Suarez v. Uber Techs., Inc., 2016 WL
                   2348706,   at *4 (M.D. Fla. May 4, 2016), aff’d, 688 F. App’x 777 (11th Cir. 2017)
                27 (“there is no procedural unconscionability because Plaintiffs had the absolute right
   Mitchell     28 to opt out of the Arbitration Provision.”) (applying Florida law).
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              1 does, (2) whether the agreement encompasses the dispute at issue.” 10 Chiron
              2 Corp., 207 F.3d at 1130.
              3         As set forth above, a valid agreement to arbitrate clearly exists here. See
              4 supra, at pp. 18-20. As to the second question, “[a]bsent some ambiguity in the
              5 agreement … it is the language of the contract that defines the scope of disputes
              6 subject to arbitration.” E.E.O.C. v. Waffle House, Inc., 534 U.S. 279, 289 (2002).
              7 Here, there is no ambiguity that the Arbitration Agreement requires that all of
              8 Plaintiffs’ claims be subject to arbitration. Specifically, Plaintiffs agreed that the
              9 Arbitration Agreement would apply to “all Disputes” between Fabletics and the
             10 consumer, meaning “any controversy, claim or dispute arising out of or relating in
             11 any way to your use of the Fabletics Services, your membership in or purchases
             12 through the Fabletics Services, Fabletics VIP Membership Program and/or your
             13 Account, or products purchased through the Fabletics Services.” Fojut Decl., Ex.
             14 G, p. 11 (emphasis added); see also id., Ex. B, p. 10 (similar); id., Ex. C, p. 9
             15 (similar). In the Complaint, Plaintiffs allege various conduct by Fabletics relating
             16 to the VIP Membership Program and Promotional Membership Credits. Compl.,
             17 ¶¶ 19-29, 36-111. This dispute falls squarely within the scope of the Arbitration
             18 Agreement. See Chiron Corp., 207 F.3d at 1131 (“little doubt that the dispute
             19 [was] subject to arbitration” where agreement covered “[a]ny dispute, controversy
             20 or claim”).
             21         Thus, even if the Court looks past the delegation clause (which it should
             22 not), the result would be the same.
             23
                 10
              24 theAlthough  the Arbitration Agreement is governed by the FAA, courts considers
                     same two questions under the CAA. See Vigueras v. Red Robin Int’l, Inc.,
              25 2019   WL 1425887, at *5 n.3 (C.D. Cal. Feb. 21, 2019) (the CAA “mirrors the
                 FAA in that it requires courts to compel arbitration of any controversy covered by
              26 the terms of a valid written arbitration agreement”). Florida law is similar. See
                 Greenbrook NH, LLC v. Est. of Sayre, ex rel. Raymond, 150 So. 3d 878, 881 (Fla.
              27 Dist. Ct. App. 2014) (“In assessing the enforceability of an arbitration agreement,
                 we inquire ‘(1) whether there is a valid written agreement to arbitrate, (2) whether
   Mitchell   28 an arbitrable issue exists, and (3) whether the right to arbitration was waived.’”
                 (citation omitted)).
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                 1 IV.     THE COURT SHOULD DISMISS PLAINTIFFS’ CLASS
                 2         ALLEGATIONS
                 3         Here, Plaintiffs purport to bring claims both individually, and on behalf of
                 4 various classes of purportedly similarity situated consumers. Plaintiffs’ individual
                 5 claims, however, are each subject to the Arbitration Agreement for the reasons
                 6 discussed above. That Arbitration Agreement does not provide for class-wide
                 7 arbitration; quite to the contrary, it expressly requires that arbitration proceed on an
                 8 “individualized basis[.]” Fojut Decl., Ex. G, p. 13; see also id., Ex. B, pp. 9-10
                 9 (similar); id., Ex. C, p. 11 (similar). “[C]ourts may not infer consent to participate
                10 in class arbitration absent an affirmative ‘contractual basis for concluding that the
                11 party agreed to do so.’” Lamps Plus, Inc. v. Varela, 587 U.S. 176, 185
                12 (2019) (emphasis in original) (quoting Stolt-Nielsen S.A. v. AnimalFeeds Int'l
                13 Corp., 559 U.S. 662, 684 (2010)). Here, the parties did the opposite, and there is
                14 therefore no basis to compel arbitration of Plaintiff’s class-wide claims. Further,
                15 “cases consistently hold that a named class representative that has been compelled
                16 to arbitration can no longer serve as a class representative.” Diaz v. Nexa Mortg.,
                17 LLC, 2024 WL 4458545, at *3 (S.D. Cal. Oct. 7, 2024) (collecting cases). Since
                18 each of Plaintiffs’ individual claims must be decided in individual arbitration,
                19 “Plaintiff[s] cannot continue to serve as class representative[s] of the putative
                20 class. Yun Park v. MSX Americas, Inc., 2019 WL 5285446, at *5 (C.D. Cal. Oct.
                21 9, 2019). Plaintiffs’ class allegations should therefore be dismissed. See Correa v.
                22 A2 Railla Dev., Inc., 2023 WL 6783987, at *11 (C.D. Cal. Apr. 7, 2023) (finding
                23 that “dismissal of the class claims … is appropriate” where individual plaintiff is
                24 compelled to arbitration).
                25 V.      CONCLUSION
                26         For the foregoing reasons, the Court should compel arbitration, dismiss
                27 Plaintiffs’ class allegations, and stay the remainder of this action.
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                1                        CERTIFICATE OF COMPLIANCE
                2        The undersigned, counsel of record for Defendant Fabletics, Inc.’s Notice of
                3 Motion and Motion to Compel Arbitration, certifies that this brief contains 5,681
                4 words, which:
                5         complies with the word limit of L.R. 11-6.1.
                6        __ complies with the word limit set by court order.
                7
                8 Dated: May 19, 2025                    By: /s/ Bradley J. Mullins
                9                                            Bradley J. Mullins

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